Case: 1:17-cv-09219 Document #: 142-1 Filed: 08/12/20 Page 1 of 35 PageID #:889




                Exhibit 1
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 2
                                                                          1 of 35
                                                                               34 PageID #:890
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 3
                                                                          2 of 35
                                                                               34 PageID #:891
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 4
                                                                          3 of 35
                                                                               34 PageID #:892
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 5
                                                                          4 of 35
                                                                               34 PageID #:893
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 6
                                                                          5 of 35
                                                                               34 PageID #:894
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DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 7
                                                                          6 of 35
                                                                               34 PageID #:895
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 8
                                                                          7 of 35
                                                                               34 PageID #:896
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
               Case: 1:17-cv-09219 Document #: 142-1
                                               125-7 Filed: 08/12/20
                                                            01/14/20 Page 9
                                                                          8 of 35
                                                                               34 PageID #:897
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case:
              Case:1:17-cv-09219
                    1:17-cv-09219Document
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                                                         01/14/20Page
                                                                 Page10
                                                                      9 of
                                                                        of34
                                                                           35PageID
                                                                             PageID#:732
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DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 11
                                                                         10 of 35
                                                                               34 PageID #:899
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 12
                                                                         11 of 35
                                                                               34 PageID #:900
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 13
                                                                         12 of 35
                                                                               34 PageID #:901
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 14
                                                                         13 of 35
                                                                               34 PageID #:902
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 15
                                                                         14 of 35
                                                                               34 PageID #:903
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 16
                                                                         15 of 35
                                                                               34 PageID #:904
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 17
                                                                         16 of 35
                                                                               34 PageID #:905
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 18
                                                                         17 of 35
                                                                               34 PageID #:906
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 19
                                                                         18 of 35
                                                                               34 PageID #:907
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 20
                                                                         19 of 35
                                                                               34 PageID #:908
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 21
                                                                         20 of 35
                                                                               34 PageID #:909
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 22
                                                                         21 of 35
                                                                               34 PageID #:910
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 23
                                                                         22 of 35
                                                                               34 PageID #:911
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 24
                                                                         23 of 35
                                                                               34 PageID #:912
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 25
                                                                         24 of 35
                                                                               34 PageID #:913
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 26
                                                                         25 of 35
                                                                               34 PageID #:914
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 27
                                                                         26 of 35
                                                                               34 PageID #:915
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 28
                                                                         27 of 35
                                                                               34 PageID #:916
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 29
                                                                         28 of 35
                                                                               34 PageID #:917
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 30
                                                                         29 of 35
                                                                               34 PageID #:918
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 31
                                                                         30 of 35
                                                                               34 PageID #:919
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 32
                                                                         31 of 35
                                                                               34 PageID #:920
                                                                                         #:732
DocuSign Envelope ID: 94E0971A-5580-46D4-8728-37154AD2831F
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 33
                                                                         32 of 35
                                                                               34 PageID #:921
                                                                                         #:732




             should have been heard or decided by another court or in another suit, that a Class Member’s

             claim was improperly denied, that the payment to a Class Member was improperly calculated,

             and/or that a Class Member failed to receive timely notice of the Settlement.

                     13.      Authorization

                     The signatories hereto represent that they are fully authorized to enter into this Settlement

             Agreement and bind the Parties to the terms and conditions hereof.

                     14.      No Tax Withholding or Advice

                     Settlement Class Members shall be solely responsible for reporting and payment of any

             federal, state, and/or local income or other tax or any withholding, if any, on any of the benefits

             conveyed pursuant to this Settlement Agreement. Class Counsel and Defendants make no

             representations, and have made no representations, as to the taxability of the relief to Named

             Plaintiff and the other Settlement Class Members. Settlement Class Members, just like Class

             Counsel, the Settlement Class Representative, and Defendants, are responsible for seeking their

             own tax advice at their own expense.

                  WHEREFORE, INTENDING TO BE BOUND, THE PARTIES, INDIVIDUALLY OR
             BY THEIR DULY AUTHORIZED AGENTS AND UNDERSIGNED COUNSEL, HAVE SET
             THEIR HAND AND SEAL AND EXECUTED THIS AGREEMENT AND RELEASE,
             EFFECTIVE THE LAST DAY SIGNED BY ALL PARTIES HERETO.

             Plaintiff:
                                                                         1/13/2020
             _____________________________________                 Dated: ______________
             Madeleine Yates


             Defendant Checkers:

             _____________________________________                 Dated: ______________
             Vince Brockman
             General Counsel

                                                              32
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 34
                                                                         33 of 35
                                                                               34 PageID #:922
                                                                                         #:732
DocuSign Envelope ID: 98F0595B-877D-43F2-9AF2-E2FF95111021
              Case: 1:17-cv-09219 Document #: 142-1
                                              125-7 Filed: 08/12/20
                                                           01/14/20 Page 35
                                                                         34 of 35
                                                                               34 PageID #:923
                                                                                         #:732




                                                               January 14, 2020

                Charley Cassell
                CFO




                                                                  1/14/2020




                                                              1/14/2020
